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9                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11
                                               Case No. ____________
12    PAMELA AVECILLA and SEAN
      BAILEY, individually and as
13    representatives of a Putative Class of
      Participants and Beneficiaries, on       CLASS ACTION COMPLAINT
14    behalf of the LIVE NATION
      ENTERTAINMENT, INC. 401(K)
15    SAVINGS PLAN,
16                Plaintiffs,
17         v.
18    LIVE NATION ENTERTAINMENT,
      INC., LIVE NATION
19    ENTERTAINMENT, INC. 401(K)
      COMMITTEE; and DOES 1 through
20    10,
21                Defendants.
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1                               CLASS ACTION COMPLAINT

2          Plaintiffs Pamela Avecilla and Sean Bailey (collectively “Plaintiffs”),
3    individually and as representatives of participants and beneficiaries of the LIVE
4    NATION ENTERTAINMENT, INC. 401(K) SAVINGS PLAN, (the “Plan”), bring
5    this action under the Employee Retirement Income Security Act of 1974, as
6    amended (“ERISA”), 29 U.S.C. §§ 1001 et seq., on behalf of the Plan and seeking
7    Plan-wide relief pursuant to ERISA §§ 502(a)(2),(3), 409(a), 1109, and/or as
8    otherwise authorized by law, against current Plan sponsor, LIVE NATION
9    ENTERTAINMENT, INC. (“Live Nation”), the named fiduciary LIVE NATION
10   ENTERTAINMENT, INC. 401(K) COMMITTEE (“Plan Committee”), and John
11   Does 1-10 (collectively the “Defendants”), for breaching their fiduciary duties in
12   the management, operation and administration of the Plan.
13                                     INTRODUCTION
14         1.     This action is brought by current and former employees / participants /
15   beneficiaries of Defendants’ Plan to recover losses due to mismanagement of the
16   401k retirement plan and certain selected funds. The 401k plan has become the
17   dominant source of retirement savings for most Americans. Unlike defined-benefit
18   pensions, which provide set payouts for life, 401(k) accounts rise and fall with
19   financial markets, and therefore, the proliferation of 401(k) plans has exposed
20   workers to big drops in the stock market and high fees from Wall Street money
21   managers. This action is filed to recover millions of dollars of funds owed back to
22   the plan on behalf of employees / participants / beneficiaries. These retirement funds
23   are significant to the welfare of the class.
24         2.     Federal law affords employers the privilege of enticing and retaining
25   employees by setting up retirement and defined contribution plans pursuant to 26
26   U.S.C. § 401 (“401(k) plans). These plans provide employees investment options
27   with tax benefits that inure to the benefits of the employees and, necessarily, to the
28   employers by increasing the “net” compensation their employees receive via tax
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1    deferment. To enjoy this benefit, employers must follow the rules and standards
2    proscribed by the Employee Retirement Income Security Act of 1974, 29 U.S.C. §
3    1001, et. seq. (“ERISA”).
4          3.     The Defendants chose to accept the benefits of federal and state tax
5    deferrals for their employees via a 401(k) plan, and the owners and executives of
6    Defendant organizations have benefitted financially for years from the same tax
7    benefits. However, Defendants have not followed ERISA’s standard of care. This
8    lawsuit is filed after careful consultation with experts and review of publicly
9    available documents to return benefits taken from Plan participants by Defendants.
10         4.     The Plan at issue is a defined contribution retirement plan or a 401(k)
11   plan, established pursuant to 29 U.S.C. § 1002(2)(A) and § 1002(34) of ERISA, that
12   enables eligible participants to make tax-deferred contributions from their salaries to
13   the Plan. As of December 31, 2021, the Plan had 8974 total participants with
14   account balances and $769,009,907 in assets.
15         5.     ERISA imposes strict fiduciary duties of prudence and loyalty on
16   covered retirement plan fiduciaries. An ERISA fiduciary must discharge his
17   responsibility “with the care, skill, prudence, and diligence” that a prudent person
18   “acting in a like capacity and familiar with such matters” would use. 29 U.S.C. §
19   1104(a)(1). A plan fiduciary must act “solely in the interest of [plan] participants
20   and beneficiaries.” Id. A fiduciary’s duties include “defraying reasonable expenses
21   of administering the plan,” 29 U.S.C. § 1104(a)(1)(A)(ii), and a continuing duty to
22   monitor investments and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct.
23   1823, 1829 (2015).
24         6.     Specifically, Defendants breached their fiduciary duties of prudence and
25   loyalty to the Plan by:
26
        a. Offering and maintaining funds with higher-cost share classes when
27         identical lower cost class shares were available and could have been offered
           to participants resulting in participants/beneficiaries paying unnecessary
28
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1          costs for services that provided no value to them and resulted in a reduction
           of compounded return gains;
2
        b. Offering a guaranteed income product that carried unnecessarily high risk,
3          generated relatively low returns and offering an expensive share class of
           that product;
4
        c. Offering expensive investments, depriving participants of compounded
5          returns which greatly exceed the annual cost of fees and revenue sharing;
6          and
7       d. Failing to maintain and restore trust assets.
8          7.       Plaintiffs were injured during the Relevant Time Period by the
9    Defendants’ flawed processes in breach of their fiduciary duties.         As a result of
10   Defendant’s actions, participants invested in subpar investment vehicles and paid
11   additional unnecessary operating expenses and fees with no value to the participants
12   resulting in a loss of compounded returns.
13         8.       Plaintiffs, individually and as the representatives of a putative class
14   consisting of the Plan’s participants and beneficiaries, bring this action on behalf of
15   the Plan under 29 U.S.C. §§ 1132(a)(2) and (3) to enforce Defendants’ liability under
16   29 U.S.C. § 1109(a), to make good to the Plan all losses resulting from their breaches
17   of fiduciary duties, and to restore to the Plan any lost profits. In addition, Plaintiffs
18   seek to reform the Plan to comply with ERISA and to prevent further breaches of
19   fiduciary duties and grant other equitable and remedial relief as the Court may deem
20   appropriate.
21                               JURISDICTION AND VENUE
22         9.       Plaintiffs bring this action pursuant to 29 U.S.C. § 1132(a), which
23   provides that participants or beneficiaries in an employee retirement plan may pursue
24   a civil action on behalf of the plan to remedy breaches of fiduciary duty and other
25   violations of ERISA for monetary and appropriate equitable relief.
26         10.      Section 1132(a)(2) authorizes any participant, fiduciary, or the Secretary
27   of Labor to sue derivatively as a representative of a plan to seek relief on behalf of
28   the plan. 29 U.S.C. § 1132(a)(2).
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1           11.    The Plan suffered millions of dollars in losses resulting from
2    Defendants’ fiduciary breaches and remains exposed to harm and continued future
3    losses, and those injuries may be redressed by a judgment of this Court in favor of
4    Plaintiffs.
5           12.    This Court has jurisdiction over the subject matter of this action
6    pursuant to 28 U.S.C. § 1331, because it is a civil action arising under the laws of the
7    United States, and exclusive jurisdiction under ERISA § 502(e)(1), 29 U.S.C. §
8    1132(e)(1).
9           13.    This Court has personal jurisdiction over Defendants because they
10   transact business in this District, reside in this District with corporate offices and
11   headquarters in Beverly Hills, CA, and/or have significant contacts with this District,
12   the Plan is believed to be administered in this District, and because ERISA provides
13   for nationwide service of process.
14          14.    Venue is proper in this District pursuant to ERISA § 502(e)(2), 29
15   U.S.C. § 1132(e)(2), because many violations of ERISA took place in this District,
16   and Defendants conduct business in this District and reside or may be found in this
17   District with corporate offices and headquarters in Beverly Hills, CA. Venue is also
18   proper in this District pursuant to 28 U.S.C. § 1391(b) because a substantial part of
19   the events or omissions giving rise to the claims asserted herein occurred within this
20   District.
21                                        THE PARTIES
22   Plaintiffs
23          15.      Plaintiff Pamela Avecilla, resides in Conyers, Georgia, and was an
24   employee of Live Nation and worked for Live Nation during the Relevant Time
25   Period. Avecilla was and is a participant in the Plan under 29 U.S.C. § 1002(7)
26   during the Relevant Time Period and upon information and belief invested in the
27   some or all of the funds which are at issue in this action. Avecilla was damaged by
28
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1    the Defendants’ breaches of their fiduciary duties impacted the Plan as a whole and
2    damaged all Plan participants.
3          16.        Plaintiff Sean Bailey resides in Dallas, Texas, and was an employee of
4    Live Nation and worked for Defendants during the Relevant Time Period. Bailey
5    was a participant in the Plan under 29 U.S.C. § 1002(7) during the Relevant Time
6    Period and upon information and belief invested in some or all of the funds which
7    are at issue in this action. Bailey was damaged by the Defendants’ breaches of their
8    fiduciary duties impacted the Plan as a whole and damaged all Plan participants.
9          17.    Avecilla and Bailey (Plaintiffs) have standing under 29 U.S.C. §
10   1132(a)(2) to bring this action on behalf of the Plan because Defendants’ reckless
11   and insouciant actions caused actual harm to an ERISA plan in which the Plaintiffs
12   participate. Plaintiffs suffered an injury in fact by, inter alia, investing in the higher
13   cost mutual fund shares when lower cost shares of the same fund were available to
14   the Plan, being forced into high expense investments because lower choice
15   investments were not made available, being deprived of a high quality and
16   reasonably priced and secure stable value investment option. Defendants are liable
17   to the Plan for the Plan’s losses under 29 U.S.C. § 1109(a).
18   Defendants
19         18.    Defendant LIVE NATION ENTERTAINMENT, INC. (“Live Nation”)
20   is the current sponsor and administrator of the Plan and maintains its principal place
21   of business at 9348 Civic Centre Drive, Beverly Hills, California 90210. Upon
22   information and belief, Live Nation operates as a sponsor and administrator and/or
23   fiduciary of the Plan.
24         19.    Defendant      LIVE    NATION      ENTERTAINMENT,            INC.    401(K)
25   COMMITTEE (“Committee” or “Investment Committee”) is composed of a group
26   of fiduciaries of the plan tasked with selecting and maintaining investments and
27   service providers that are in the best interests of the plan participants and
28   beneficiaries.
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1          20.    Defendant “Does” or the names of the individuals on the Board of
2    Directors and related Committee(s), including the Plan’s Investment Committee, as
3    well as the Plan’s manager, and Live Nation’s officers during the Relevant Time
4    Period are unknown at this time and are named as “John Does” until the “Does” are
5    known and can be named through amendment to this Complaint.
6          21.    Live Nation, the Board of Directors, the Plan Investment Committee,
7    the Plan’s manager, and the Directors and Officers are fiduciaries to the Plan under
8    29 U.S.C. § 1002(21)(A)(i) and (iii) because they have sole authority to amend or
9    terminate, in whole or part, the Plan or the trust, and have discretionary authority to
10   control the operation, management and administration of the Plan, including the
11   selection and compensation of the providers of administrative services to the Plan
12   and the selection, monitoring, and removal of the investment options made available
13   to participants for the investment of their contributions and provision of their
14   retirement income.
15   Parties in Interest
16         22.    Finally, although not currently named as Defendants, the covered
17   service providers serve as “Parties of Interest” to this Litigation.
18         23.    Live Nation contracted with MERRILL LYNCH (“Merrill”), to provide
19   Code 28 Investment management services to the Plan.
20         24.    Live Nation contracted with STRATEGIC ADVISORS, INC.
21   (“Strategic”), to serve as a Code 27 Investment advisor to the Plan. Strategic served
22   as an investment fiduciary “Advisor” to the Plan during the Relevant Time Period
23   based on Schedules C certified returns filed by Live Nation.
24         25.    Live     Nation     contracted     with    FIDELITY       INVESTMENTS
25   INSTITUTIONAL (“Fidelity”) to serve as the Plan’s recordkeeper and Trustee. In
26   this capacity, Fidelity received and held the assets of the Fund on behalf of the
27   Participants and Beneficiaries. Fidelity served as investment fiduciary during the
28   relevant time period based on Schedules C certified returns filed by Live Nation.
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1          26.    Live Nation and the Plan Committee had a concomitant fiduciary duty
2    to monitor and supervise those appointees and contracted parties.
3                     DEFENDANTS’ FIDUCIARY OBLIGATIONS
4          27.    Under ERISA, a fiduciary’s duty is akin to the duty of a trust fiduciary.
5    Tibble v. Edison Intern., 575 U.S. 523, 528-29.
6          28.    To state an ERISA claim for a breach of a fiduciary duty, a “plaintiff
7    must make prima facie showing that the defendant acted as a fiduciary, breached its
8    fiduciary duties, and thereby caused a loss to the Plan.” Braden v. Wal-Mart Stores,
9    Inc., 588 F.3d 585, 594.
10         29.    ERISA and common law trusts impose strict fiduciary duties of loyalty
11   and prudence upon Defendants as Plan fiduciaries. 29 U.S.C. § 1104(a)(1)(A)
12   requires a plan fiduciary to “discharge his duties with respect to a plan solely in the
13   interest of the participants and beneficiaries” for the “exclusive purpose of (i)
14   providing benefits to participants and their beneficiaries; and (ii) defraying
15   reasonable expenses of administering the plan.”
16         30.    29 U.S.C. § 1104(a)(1)(B) and common law requires a plan fiduciary to
17   discharge his obligations “with the care, skill, prudence, and diligence under the
18   circumstances then prevailing that a prudent man acting in a like capacity and
19   familiar with such matters would use in the conduct of an enterprise of like character
20   and with like aims.”
21         31.    A fiduciary’s duties include a continuing duty to monitor investments
22   and remove imprudent ones. Tibble v. Edison Int’l, 135 S. Ct. at 1829.
23         32.    29 U.S.C. § 1106(a)(1)(C) and 29 U.S.C. §1108(b)(2) and common law
24   allow a fiduciary of an employee benefit plan to enter into an agreement with a party
25   in interest for the provision of administrative services such as recordkeeping to the
26   Plan “if no more than reasonable compensation is paid therefor.” Fidelity is a “party
27   in interest” under 29 U.S.C. § 1106(a)(1)(C).
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1          33.    29 U.S.C. § 1132(a)(2) and common law authorize a plan participant to
2    bring a civil action to enforce a breaching fiduciary’s liability to the plan under 29
3    U.S.C. §1109.
4          34.    Section 1109(a) and common law provides “[a]ny person who is a
5    fiduciary with respect to a plan who breaches any of the responsibilities, obligations,
6    or duties imposed upon fiduciaries by this subchapter shall be personally liable to
7    make good to such plan any losses to the plan resulting from each such breach.”
8    “One appropriate remedy in cases of breach of fiduciary duty is the restoration of the
9    trust beneficiaries to the position they would have occupied but for the breach of
10   trust.” Restatement (Second) of Trusts § 205(c) (1959); see Eaves v. Penn, 587 F.2d
11   at 463.
12                     DEFINED CONTRIBUTION 401(K) PLANS
                       AND THE IMPACT OF EXCESSIVE FEES
13
           35.    In a defined contribution plan, participants (and sometimes their
14
     employer) make contributions to plan participants’ individual accounts. Participants’
15
     retirement benefits are limited to the value of their own individual accounts, which is
16
     determined solely by employee and employer contributions plus any investment
17
     gains less plan and investment expenses.         See 29 U.S.C. § 1002(34). Plan
18
     Participants’ investments are held in trust. Typically, plan participants direct the
19
     assets and contributions of their accounts into investment options selected by the
20
     plan sponsor and owned by the trust.
21
           36.    Because retirement savings in defined contribution plans are intended to
22
     grow and compound over the course of the employee participants’ careers, poor
23
     investment performance and excessive fees can dramatically reduce the amount of
24
     benefits available to a participant upon retirement. Over time, even small differences
25
     in fees and performance compound, and can result in vast differences in the amount
26
     of savings available at retirement. As the Supreme Court explained, “[e]xpenses,
27
     such as management or administrative fees, can sometimes significantly reduce the
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1    value of an account in a defined-contribution plan.” Tibble v. Edison Int’l, 135 S. Ct.
2    at 1825. In short, the damages caused by breaches of fiduciary duties to the Plan
3    cause damages that continue to accrue and compound over time.
4           37.    In fact, the impact of excessive fees on employees’ and retirees’
5    retirement assets is dramatic. The U.S. Department of Labor has noted that a 1%
6    higher level of fees over a 35-year period makes a 28% difference in retirement
7    assets at the end of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k)
8    Plan Fees, at 1–2 (Aug. 2013). 1
9           38.    “As a simple example, if a beneficiary invested $10,000, the investment
10   grew at a rate of 7% a year for 40 years, and the fund charged 1% in fees each year,
11   at the end of the 40-year period the beneficiary’s investment would be worth
12   $100,175. If the fees were raised to 1.18%, or 1.4%, the value of the investment at
13   the end of the 40-year period would decrease to $93,142 and $85,198, respectively.
14   Beneficiaries subject to higher fees for materially identical funds lose not only the
15   money spent on higher fees, but also “lost investment opportunity”; that is, the
16   money that the portion of their investment spent on unnecessary fees would have
17   earned over time.
18          39.     Accordingly, courts have recognized that plan fiduciaries “cannot
19   ignore the power the trust wields to obtain favorable investment products,
20   particularly when those products are substantially identical—other than their lower
21   cost—to products the trustee has already selected.” Tibble v. Edison International,
22   843 F.3d 1187, 1198 (9th Cir. 2016).
23          40.    The marketplace for retirement plan services is established and
24   competitive. As of 2021, the Plan had 8,974 participants with account balances and
25   $769,009,907 in assets. As a result, the Plan has tremendous bargaining power to
26
27   1
      https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-
28   activities/resourcecenter/publications/401kFeesEmployee.pdf

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1    demand low-cost administrative and investment management services and well-
2    performing, low-cost investment funds.
3         THE ESTABLISHEMENT OF THE TRUST AND THE DOCUMENTS
4              RELIED UPON FOR THE COMPLAINT’S ALLEGATIONS
5            41.    The Defendants’ Annual Returns/Reports of Employee Benefit Plan to
6    the U.S. Departments of Treasury and Labor (“Forms 5500” which are “Open to
7    Public Inspection” and available for download from www.efast.dol.gov for forms
8    filed in 2010 and onward).
9            42.    The underlying allegations in this Complaint are based on the limited
10   documents provided by Defendants, Plaintiffs’ documents, as well as the
11   Defendants’ past Forms 5500 filed with U.S. Departments of Treasury and Labor
12   found     at   www.efast.dol.gov,    and    mutual   fund    prospectuses   found    at
13   https://www.sec.gov/edgar/searchedgar.
14                            FACTUAL ALLEGATIONS
15   A.      Defendants Caused the Plan Participants to Pay Excessive Fees and Lose
             Returns by Failing to Offer, Monitor, and Investigate Available Lower
16           Cost Mutual Share Classes as Plan Investment Options.
17           43.    While a fiduciary is not required to “scour the market to find and offer

18   the cheapest possible fund,” selecting higher-cost funds where other options exist

19   can give rise to the inference “that the process was flawed,” demonstrating

20   imprudence. Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009); Braden v.

21   Wal-Mart Stores, Inc., 588 F.3d 585, 595-96 (8th Cir. 2009), (inferring

22   mismanagement and the possibility that the defendant “failed to pay close enough

23   attention to available lower-cost alternatives,” where less expensive funds were

24   available).

25           44.    As described below, Defendants invested Plan funds in high-cost mutual
26   fund share classes when lower cost share classes were available that were identical to
27   the funds chosen, but for their cost and their adverse effect on performance.
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1          45.    Further the flawed fiduciary process employed by Defendants resulted
2    in the selection of high-cost funds, and those funds performed poorly relative to their
3    applicable benchmarks and necessarily relative to their lower cost share options.
4          46.    Mutual funds make a profit by charging investors operating expenses,
5    which are expressed as a percentage of the total assets in the fund. Operating
6    expenses include fund management fees, marketing and distribution fees,
7    administrative expenses and other costs.
8          47.     Mutual funds often offer multiple “classes” of their shares to investors.
9    Each class represents an identical interest in the mutual fund’s portfolio. The
10   principal difference between the classes is that the mutual fund will charge different
11   operating expenses depending on the class. The various share classes are generally
12   intended to target to particular investors such as retail (individual investors) or
13   institutional investors (such as 401(k) plans).
14         48.    A mutual fund may charge an annual expense ratio of 1% of the gross
15   assets of the fund to one share class, while charging a lower cost share class of that
16   same fund an expense ratio of .50%. Thus, an investor who purchases the share class
17   with a lower operating expense will realize a .50% greater annual return on his/her
18   investment compared to an investor who purchases the share class with the higher
19   operating expense. While the annual return may more closely reflect the difference in
20   share class costs, over time the difference in returns begins to deviate significantly
21   from the original expenses due to cumulative annual costs and lost compounding.
22   Generally, lower cost share classes are available to larger investors, such as 401(k)
23   plans like the Plan.
24         49.    Plans that select share classes that subject their participants to higher
25   fees engage in share class violations which are among the most clear and obvious
26   breaches of fiduciary duties in the Plan. See Tibble v. Edison, 2017 U.S. Dist.
27   LEXIS 130806, *40 (C.D. Cal. Aug. 16, 2017) (“Because the institutional share
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1    classes are otherwise identical to the retail share classes, but with lower fees, a
2    prudent fiduciary would know immediately that a switch is necessary.”).
3            50.      Since at least 2009 and throughout the limitations period, Defendants
4    offered higher cost mutual fund share classes as investment options for the Plan even
5    though at all times lower cost share classes of those exact same mutual funds were
6    readily available to the Plan.
7            51.       Indeed, Defendants have provided as many as 15 fund choices with
8    clear share class violations, with at least 67% of all share classes in the period, and as
9    high as 70% of share classes in the period, violating the fiduciary duty to select the
10   lowest cost share class of the funds. See Summary Table by year below.
11                                                        Table 1
12                           2022         2021            2020             2019            2018             2017
        Total Funds #         21           21              21               20              22               22
13     Cheaper Shares         14           14              14               14              15               15
     Classes Available #
14     Cheaper Shares         67%         67%              67%             70%              68%             68%
15   Classes Available %

16   1) Assuming no investment changes in 2021 or 2022
     2)Assuming tickers sent in documents disclosed by Defendant in pre-litigation are accurate when they differ from the
17     Schedule of Assets
     3)Excluding the Money Market, Stable Value, and Live Nation Entertainment Common Stock
18
             52.       Of the 21-22 investment options for which lower-cost share classes
19
     were available, the less expensive options were the better options. Defendants’
20
     failure to select those options raises the inference of imprudence. Braden v. Wal-
21
     Mart Stores, Inc., 588 F.3d 585, 588.
22
             53.      The following chart illustrates the differences in the operating costs and
23
     Returns (performance) between the share classes chosen by Defendants and the least
24
     expensive share class available as of January 1, 2017.
25
             54.       The fund name listed in the first row and shaded grey represents the
26
     share class chosen by Defendants. The second fund name listed and not shaded
27
     represents the cheaper share class Defendants should have chosen which was
28
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1     available to them through some or all of the limitations period and in some cases
2     through to the time of selection. The bolded line represents the difference in costs
3     (expenses charged) and the investment returns for the one-, three- and six-year
4     performance periods ending 12/31/2022.
5               55.           Additionally, to highlight the harm caused by the Defendants’
6     imprudent selection of high-cost share classes, the three-, and six-year cumulative
7     returns are included, which shows the compounding effect of excess fees paid over
8     the course of each year.
9                                                                 Table 2
10                                              Cumulative Total Returns
                                                (Ending 12/31/22)
11   Name             Expe     1-Year   3-        3-      2020 BOY      Returns Lost   6-Year   6-      2017 BOY      Returns Lost
                      nse      %        Year      Year    Assets        for    Using   Total    Year    Assets        for     Using
12                    Rati     Total    Total     % /                   Expensive               % /                   Expensive
                      o%                          3*                    Share Class             6*                    Share Class
13   Fidelity®
     Growth
                      0.79     -33.78   36.07             $78,341,988

     Company
14   (2009 - 2022)
     Fidelity®        0.45     -32.62   38.84
15   Growth
     Company K6
     Cost        of   -0.34    -1.16    -2.77     -0.92                 -$2,172,001    0.00     0.00                  $0.00
16   Expensive
     Share
17   Classes
     Janus            0.91     -16.14   18.11             $29,356,837                  99.43            $14,117,238
     Henderson
18   Enterprise T
     (2016 - 2022)
19   Janus            0.66     -15.94   18.96                                          102.33
     Henderson
20   Enterprise N
     Cost        of   -0.25    -0.20    -0.85     -0.28                 -$250,371      -2.90    -0.58                 -$409,277.65
     Expensive
21   Share
     Classes
22   Fidelity®        0.82     -5.80    28.23             $21,463,886
     Low-Priced
     Stock (2009 -
23   2022)
     Fidelity®        0.50     -5.21    29.24
24   Low-Priced
     Stock K6
25   Cost
     Expensive
                 of   -0.32    -0.60    -1.02     -0.34                 -$218,365      0.00     0.00                  $0.00

     Share
26   Classes

27
28
                                                             -13-
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     Name             Expe    1-Year   3-      3-      2020 BOY      Returns Lost   6-Year   6-     2017 BOY   Returns Lost
1                     nse     %        Year    Year    Assets        for    Using   Total    Year   Assets     for     Using
                      Rati    Total    Total   % /                   Expensive               % /               Expensive
2    Invesco EQV
                      o%
                      1.03    -17.44   -9.50
                                               3*
                                                       $5,547,293
                                                                     Share Class             6*                Share Class

     Emerging
3    Markets All
     Cap R5 (2019
4    - 2022)
     Invesco EQV      0.94    -17.41   -9.31
     Emerging
5    Markets All
     Cap R6
6    Cost        of   -0.09   -0.03    -0.19   -0.06                 -$10,784       0.00     0.00              $0.00
     Expensive
     Share
7    Classes
     Invesco Real     0.86    -24.57   -4.37           $4,277,960
8    Estate     R5
     (2019 - 2022)
9    Invesco Real
     Estate R6
                      0.78    -24.49   -4.11

     Cost        of   -0.08   -0.08    -0.26   -0.09                 -$11,096       0.00     0.00              $0.00
10   Expensive
     Share
11   Classes


12
13
14
     Fidelity®        0.66    -11.13   -0.65           $4,278,441
15   Strategic
     Income Fund
16   (2019 - 2022)
     Fidelity         0.61    -10.99   -0.49
     Advisor®
17   Strategic
     Income Z
18   Cost
     Expensive
                 of   -0.05   -0.13    -0.17   -0.06                 -$7,120        0.00     0.00              $0.00

     Share
19   Classes
     Fidelity®        0.50    -17.24   18.68           $19,595,373
20   Puritan®
     (2009 - 2022)
     Fidelity®        0.32    -17.11   18.69
21   Puritan K6
     Cost        of   -0.18   -0.13    -0.02   -0.01                 -$3,204        0.00     0.00              $0.00
22   Expensive
     Share
23   Classes


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     Name             Expe    1-Year   3-      3-      2020 BOY      Returns Lost   6-Year   6-      2017 BOY      Returns Lost
1                     nse     %        Year    Year    Assets        for    Using   Total    Year    Assets        for     Using
                      Rati    Total    Total   % /                   Expensive               % /                   Expensive
2    Fidelity
                      o%
                      0.42    -11.30   -0.27
                                               3*
                                                       $1,811,531
                                                                     Share Class
                                                                                    17.35
                                                                                             6*
                                                                                                     $1,243,084
                                                                                                                   Share Class

     Freedom®
3    Income      K
     (2017 - 2022)
4    Fidelity
     Freedom®
                      0.37    -11.25   -0.07                                        17.68

     Income K6
5    Cost        of   -0.05   -0.06    -0.20   -0.07                 -$3,680        -0.33    -0.07                 -$4,087.04
     Expensive
6    Share
     Classes
7
8
9
10
11
     Fidelity         0.44    -13.18   1.98            $6,863,274                   26.66            $5,429,256
12   Freedom®
     2010 K (2017
13   - 2022)
     Fidelity         0.38    -13.04   2.22                                         27.15
     Freedom®
14   2010 K6
     Cost      of     -0.06   -0.14    -0.24   -0.08                 -$16,572       -0.49    -0.10                 -$26,832.63
15   Expensive
     Share
     Classes
16   Fidelity         0.51    -16.03   4.15            $16,655,722                  34.94            $13,703,752
     Freedom®
17   2020 K (2017
     - 2022)
18   Fidelity
     Freedom®
                      0.42    -15.92   4.49                                         35.70

     2020 K6
19   Cost      of     -0.09   -0.11    -0.34   -0.11                 -$57,369       -0.75    -0.15                 -$103,114.29
     Expensive
20   Share
     Classes
21
22
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     Name           Expe    1-Year   3-      3-      2020 BOY      Returns Lost   6-Year   6-      2017 BOY      Returns Lost
1                   nse     %        Year    Year    Assets        for    Using   Total    Year    Assets        for     Using
                    Rati    Total    Total   % /                   Expensive               % /                   Expensive
2    Fidelity
                    o%
                    0.58    -16.86   7.33
                                             3*
                                                     $43,435,180
                                                                   Share Class
                                                                                  45.94
                                                                                           6*
                                                                                                   $23,883,085
                                                                                                                 Share Class

     Freedom®
3    2030 K (2017
     - 2022)
4    Fidelity
     Freedom®
                    0.46    -16.77   7.69                                         46.97

     2030 K6
5    Cost      of   -0.12   -0.09    -0.36   -0.12                 -$155,239      -1.04    -0.21                 -$247,495.87
     Expensive
6    Share
     Classes
7
8
9
10
11
12
     Fidelity       0.65    -18.14   12.91           $67,098,602                  57.97            $28,088,149
13   Freedom®
     2040 K (2017
     - 2022)
14   Fidelity       0.50    -18.06   13.34                                        59.15
     Freedom®
15   2040 K6
     Cost      of   -0.15   -0.08    -0.44   -0.15                 -$292,840      -1.18    -0.24                 -$330,457.92
16   Expensive
     Share
     Classes
17   Fidelity       0.65    -18.22   12.84           $58,035,787                  57.89            $17,969,036
     Freedom®
18   2050 K (2017
     - 2022)
     Fidelity       0.50    -18.10   13.32                                        59.28
19   Freedom®
     2050 K6
20   Cost of        -0.15   -0.12    -0.48   -0.16                 -$281,041      -1.39    -0.28                 -$250,640.74
     Expensive
     Share
21   Classes

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     Name             Expe     1-Year   3-      3-      2020 BOY     Returns Lost   6-Year   6-       2017 BOY   Returns Lost
1                     nse      %        Year    Year    Assets       for    Using   Total    Year     Assets     for     Using
                      Rati     Total    Total   % /                  Expensive               % /                 Expensive
2    Fidelity
                      o%
                      0.65     -18.18   12.89
                                                3*
                                                        $9,250,742
                                                                     Share Class
                                                                                    57.78
                                                                                             6*
                                                                                                      $98,484
                                                                                                                 Share Class

     Freedom®
3    2060 K (2017
     - 2022)
4    Fidelity
     Freedom®
                      0.50     -18.09   13.31                                       58.97

     2060 K6
5    Cost of          -0.15    -0.09    -0.42   -0.14                -$39,062       -1.19    -0.24               -$1,167.42
     Expensive
6    Share
     Classes
7
     * * The 3-Year %/3 and 6-Year %/6 figures illustrate that the cost to participants in lost returns is typically
8    greater than the charged annual expenses.

9               56.          Plaintiffs identified 15 funds that had one or more less expensive share

10   classes at the time of selection 2 and/or throughout the limitations period. Apart from

11   the expenses and their adverse effect on yield and performance, share classes are

12   identical. They share the same portfolio manager(s), stocks/bonds, allocations and

13   risk characteristics. While it is possible that some share classes have higher

14   minimum initial investment requirements, those requirements are commonly waived

15   for qualified retirement plans and all of the funds have sufficient assets to meet the

16   highest of those minimums. The harm to participants as a result of lost returns is

17   estimated to be nearly $4.5 million through the limitations period.

18              57.          Furthermore, Defendants should have been aware of the lower share

19   class options either upon selection or during the proposed class period.

20              58.          For example, Defendants chose Fidelity Growth Company as an

21   investment option available to participants in or prior to 2009. The cheaper “K”

22   shares had an inception date of May 9, 2008 and cost 0.16% less than the option they

23   chose. In June 2019, Fidelity added the “K6” shares to the Growth Company

24   portfolio, which cost 0.34% less than the share class the Defendants originally

25   selected and continue to use.

26              59.          Defendants chose Janus Henderson Enterprise T shares as an investment

27   option available to participants in 2016. The cheaper “N” shares had an inception

28   2
         Plaintiffs are not alleging any breaches at time of selection beyond the six (6) year SOL.
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1    date of July 12, 2012. The information provided in the Janus Enterprise annual
2    prospectuses clearly show the significant difference in fees and investment returns
3    between the “T” and “N” share classes at the time of selection and thereafter. The
4    “N” share class costs 0.25% less than the “T” shares the Defendants continue to use.
5    While the “N” share class has a minimum initial investment requirement of $1
6    million, the fund held over $14 million at the time the fund was chosen.
7          60.    Defendants chose Fidelity Low-Priced Stock as an investment option
8    available to participants in or prior to 2009. The cheaper “K” shares had an inception
9    date of May 9, 2008 and cost 0.18% less than the option they chose. In May 2017,
10   Fidelity added the “K6” shares to the Low-Priced Stock portfolio, which cost 0.32%
11   less than the share class the Defendants originally selected and continue to use.
12         61.    Defendants chose Baron Small Cap Retail as an investment option
13   available to participants in or prior to 2009. In May 2009, Baron added the
14   “Institutional” share class to the Small Cap portfolio, which cost 0.25% less than the
15   share class the Defendants used until 2018 when the fund was replaced. At the time
16   the share class became available, the prospectus stated that the Institutional share
17   class is intended to be offered to retirement platforms (among others) and that the $1
18   million minimum initial investment may be waived.
19         62.    Defendants chose AIM Developing Markets A (later renamed Invesco
20   Developing Markets and then Invesco EQV Emerging Markets All Cap) as an
21   investment option available to participants in or prior to 2009. In 2009, the
22   Defendants had the option of selecting the “Y” shares, which were 0.25% less
23   expensive than the share class they chose. In September 2012, Invesco added the
24   “R6” share class to the Developing Markets portfolio. At the beginning of the
25   limitations period, the “R6” shares cost 0.42% less than the A shares the Defendants
26   used until 2019, when the Defendants switched to the “R5” share class, which were
27   still 0.05% more expensive than the “R6” option. The more expensive “R5” share
28   class is still being used by the Defendants.
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1          63.    Defendants chose AIM Real Estate A (later renamed Invesco Real
2    Estate) as an investment option available to participants in or prior to 2009. In 2009,
3    the Defendants had the option of selecting the “Y” shares, which were 0.25% less
4    expensive than the share class they chose. In September 2012, Invesco added the
5    “R6” share class to the Real Estate portfolio. At the beginning of the limitations
6    period, the “R6” shares cost 0.47% less than the A shares the Defendants used until
7    2019, when the Defendants switched to the “R5” share class, which were still 0.08%
8    more expensive than the “R6” option. The more expensive “R5” share class is still
9    being used by the Defendants.
10         64.    Defendants chose Fidelity Advisor Strategic Income A as an investment
11   option available to participants in 2010. In 2010, the Defendants had the option of
12   selecting the “I” shares, which cost 0.23% less than the A shares the Defendants
13   chose. The “A” share class was used until 2019, when the Defendants switched to
14   the newly incepted Fidelity Strategic Income (April 13, 2018). Because the switch
15   was made in 2019, Defendants could have replaced the “A” shares with the “Z”
16   shares of the same portfolio, which also had a 2018 inception date and is 0.05% less
17   expensive than the replacement fund they chose and continue to use.
18         65.    Defendants chose Fidelity Puritan as an investment option available to
19   participants in or prior to 2009. The cheaper “K” shares had an inception date of
20   May 9, 2008 and cost 0.17% less than the option they chose. In June 2019, Fidelity
21   added the “K6” shares to the Puritan portfolio, which, in 2019 cost 0.21% less than
22   the share class the Defendants originally selected and continue to use.
23         66.    Defendants chose the Fidelity Freedom target date funds as investment
24   options available to participants in or prior to 2009. In 2017, the year the share class
25   was incepted, Defendants switched to the cheaper “K” share class; however, they
26   could have chosen the “K6” share class, which began a month earlier and are, on
27   average, 0.12% less expensive than the “K” shares the Defendants chose and
28   continue to use.
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1          67.       Defendants may seek to explain that they offered higher cost share
2    classes with higher fee burdens by pointing to the Plan’s ability to use those fees to
3    defray service provider costs.         The total excess revenue exceeded reported
4    recordkeeping costs/rebates (Schedule C 5500s) on a consistent basis throughout the
5    class period.
6          68.       Investing Plan assets in higher cost share classes harms plan participants
7    because it causes them to pay excess indirect fees which are not tethered to any
8    service provided to Plan participants but rather are tied to the amounts invested by
9    Plan participants.
10         69.       The indirect fees wildly fluctuated with no explanation other than that
11   asset values fluctuated. For example, considering only the eleven (11) Fidelity funds
12   in the Plan throughout the proposed class period, net revenue retained by Fidelity
13   after rebates to participants was an estimated $439,639 in 2021, $269,310 in 2020,
14   $662,778 in 2019, $326,504 in 2018, and $388,632 in 2018.
15         70.       The use of share classes to create funds for revenue sharing does not
16   justify the increased fees and lost returns imposed on Plan participants. Rather,
17   empirically speaking, revenue sharing burdens on mutual fund investors are always
18   more costly over time than the revenue sharing credit offered by the corresponding
19   mutual fund share class.
20         71.       In addition, because rebates are only made after a set period of time, the
21   Plan effectively lends out the rebated funds until such time as the rebate comes
22   through, rather than keeping them in the Trust and accruing gains during that time.
23         72.       Moreover, Plan participants are generally not aware of the fee burden
24   that their 401k accounts bear from indirect fees. Unlike direct fees, which are clearly
25   listed on participants’ statements, indirect fees are unshown and unknown to those
26   paying those costs.
27         73.       Indeed, because not all funds generate fees for revenue sharing, only
28   those participants invested in the revenue sharing funds pay for the revenue sharing
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1    and the other participants get a free ride – which is impermissible discrimination
2    against participants.
3          74.    In fact, the Plan set the Fidelity Freedom target date funds as the
4    qualified default investment alternative, thus pushing new participants into paying
5    fees in the high fee share class.
6          75.    Likewise, the rebate formula used may not equitably return funds to
7    participants if participants make withdrawals or transfer out of the fun prior to the
8    credit being posted.
9          76.    Further, by focusing on funds with expensive share classes that
10   generated high funds for revenue sharing, the Plan limited the universe of funds
11   available for selection and selects funds based on revenue generating share classes as
12   opposed to the best interests of the Plan itself.
13         77.    Because the Plan could have invested in identical mutual funds with a
14   lower cost share class, the Defendants’ actions were directly erosive to the trust’s
15   growth.
16         78.    Defendants thus caused Plan participants/beneficiaries harm by not just
17   forcing them to pay higher fees, but also caused lost yield and returns as a result of
18   those higher fees on the majority of investments offered through the Plan. The
19   erosive effect of excessive fees and the resulting lost returns compounds over time
20   substantially lowering the corpus of participants’ retirement investments.
21         79.    In selecting share classes with higher fees, Defendants demonstrated a
22   lack of basic skill and prudence when selecting investments.
23         80.    Defendants failed to use the Plan’s bargaining power to leverage lower
24   cost mutual fund options for the Plan participants and frankly allowed the
25   recordkeeper, Fidelity, to peddle its own funds so that it could earn more fees than
26   those set forth in this complaint (management fees, etc.). As an example, all of the
27   actively managed proprietary Fidelity funds, including the qualified default
28   investment alternative (QDIA) target-date funds, had lower cost share classes
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1    available through at least December 31, 2021. Interestingly, the least expensive share
2    class of several nonproprietary funds, such as PGIM Total Return Bond R6,
3    Vanguard Equity-Income Admiral and John Hancock International Growth R6 were
4    selected. One reason for this is that it appears that Fidelity was generating revenue
5    for itself through the use of expensive share classes on its own products that it would
6    not generate from other firms. This is also an inequitable method of payment because
7    participants who invested in these expensive share classes covered the majority of
8    service provider costs. To put it another way, participants who invested only in the
9    Fidelity Index funds, or nonproprietary funds that did not pay out any revenue
10   sharing, would not have paid any of the service provider costs apart from those
11   directly billed.
12          81.    The Defendants’ actions to choose high-cost funds demonstrates a lack
13   of prudence. Wasting the trust’s money (i.e., participants/beneficiaries’ money)
14   violates subsections (A), (B) and (D) of ERISA Section 404(a)(1) above. In devising
15   and implementing strategies for the investment and management of trust assets,
16   trustees are obligated to “minimize costs.”      Uniform Prudent Investor Act (the
17   “UPIA”) §7.
18          82.    As is evident from the allegations in the Complaint, Defendants did not
19   systemically and regularly review or institute other processes in place to fulfill their
20   continuing obligation to monitor Plan investments and reduce Plan costs, or, in the
21   alternative, failed to follow the processes, as evidenced by the offering of higher cost
22   share classes as Plan investment options when lower cost options of the same funds
23   were available.
24          83.    A prudent fiduciary conducting an impartial review of the Plan’s
25   investments would have identified the cheaper share classes available and transferred
26   the Plan’s investments in the above-referenced funds into the lower share classes at
27   the earliest opportunity. The total amount of excess mutual fund expenses paid by
28   Plan participants over the past six years, which correspondingly reduced the return
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1    on the Plan participants’ investments, resulted in millions of dollars of damages to
2    participants.
3
     B.   Defendants Imprudently Maintained the Plan’s Investment in the New
4         York Life Guaranteed Interest Annuity Contract Stable Value Option,
          When Lower Share Classes Existed and Other Investment Vendor Offered
5         Superior Alternatives.
6
            84.      During the proposed class period, Defendants offered the New York
7
     Life Guaranteed Interest Annuity Contract Stable Value Option (NYL GIC).
8
            85.      Stable value products, including guaranteed investment contracts, are
9
     not required to be registered with the SEC. Single Company fixed annuity contracts
10
     are structured as an insurance company general account, or an insurance company
11
     separate account, and are solely regulated by the State Insurance Commissioner
12
     selected by the insurance company. There are also synthetic based stable value
13
     funds, which are run by a Registered Investment Advisor (RIA) regulated by the
14
     SEC.    The differences between the different types of funds are critical from a
15
     fiduciary standpoint. The NYL GIC was an insurance company general account.
16
            86.      A stable value account in a retirement plan is (i) similar to a money
17
     market fund in that it provides principal protection, and (ii) similar to a bond fund in
18
     that it provides higher consistent returns over time. Stable value funds are able to do
19
     this because participant behavior is such that the amount of money invested in the
20
     account is relatively stable over time. It differs from both in that it seeks to generate
21
     returns greater than a money market and equivalent to a short – to intermediate –
22
     term bond fund.       The stability of assets enables fund providers to offer better
23
     crediting rates (the rate of return) and to guarantee participants will not lose money
24
     by ensuring the fund transacts at book value. Stable value accounts also “stabilize”
25
     the returns through the use of an imbedded formula which is part of the contract with
26
     the plan that smooths out the volatility of the fund that results from fluctuations in
27
28
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1    interest rates associated with bond funds. 3 Single fixed annuity contracts are set by
2    the insurance company at their discretion which typically maximizes profit to the
3    insurance company and minimizes returns to participants which is a fiduciary breach.
4           87.    There are several different types of stable value accounts in the
5    401(k) marketplace. Large plans often offer “synthetic” stable value funds, which are
6    the least risky, because principal is guaranteed by multiple “wrap providers” 4 and the
7    fund owns the assets of the underlying funds. Separate account products, where the
8    assets of the underlying funds are held in the separate account of an insurance carrier
9    are riskier, because there is only one “wrap” provider. As a result, they offer higher
10   crediting rates. General account products, such as the NYL GIC, where the funds are
11   held unrestricted in the general account of the insurance carrier, are the riskiest type
12   of stable value funds and consequently offer the highest rates.
13          88.    While the majority of plans the size of Live Nation use a lower risk
14   synthetic stable value product, there are still some Separate Account and General
15   Account products.
16          89.    The NYL GIC is a general account product established pursuant to a
17   contract between Live Nation and New York Life. The investment funds are
18   deposited by New York Life in its general account, which enables New York Life to
19   earn a “spread” representing by the difference between the crediting rate and the
20   returns earned by New York Life from general account funds. The NYL GIC also
21   was subject to the single entity credit risk of New York Life, the issuer of the
22   contract. The crediting rate, set in advance by New York Life and reset from time to
23   time in New York Life’s sole discretion, is not tied to the performance of a
24   diversified pool of assets in which the investors in the fund have an interest. Thus,
25   3
       See Stable Value Fund v. Money Market Fund, Financial Web describing difference between
26   stable value funds and money market funds), available at: http://www.finweb.com/investing/stable-
     value-fund-vs-money-marketfund/html#axzz44EaLfQnQ.
27   4
       Stable value funds invest in fixed-income securities and wrap contracts offered by banks and
     insurance companies. Wrap contracts guarantee a certain return even if the underlying investments
28   decline in value. To support that guarantee, a wrap contract relies on both the value of the
     associated assets and the financial backing of the wrap issuer.
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1    Live Nation had the opportunity and duty to evaluate the investment in advance; this
2    is not a case of judging an investment with the benefit of hindsight.
3           90.    As an ERISA fiduciary, Live Nation had an obligation to monitor the
4    fees and performance of the NYL GIC and to remove or replace it where a
5    substantially identical investment option can be obtained from the same provider at a
6    lower cost. See, e.g., Tibble v. Edison Int’l, 843 F.3d 1187, 1198 (9th Cir. 2016)
7    (“[A] trustee cannot ignore the power the trust wields to obtain favorable investment
8    products, particularly when those products are substantially identical -- other than
9    their lower cost -- to products the trustee has already selected.”).
10          1.     New York Life’s Excessive Spread Fees
11          91.    Live Nation did not have a viable methodology for monitoring the
12   costs or performance of the NYL GIC. Not only were comparable products available
13   from other providers with higher crediting rates, but identical or substantially
14   identical products were available to Live Nation from New York Life and other
15   stable value providers with higher crediting rates and lower spread fees. In fact, the
16   NYL GIC charged the Live Nation employees 225 basis points more and returned
17   225 basis points less than the very same type of fund offered by New York Life to
18   other similarly situated retirement plans. While not all information is publicly
19   available for comparison purposes, 5 limited documentation for 2022 showed a
20   2.05% crediting rate paid by NY Life to plan participants, while NY Life for the
21   same product on the web claims a 4.3% rate, 6 the same contract crediting rate
22   5
       In September 2010 the trade group for State Government 401(k) plans, the National Association
     of Government Defined Contribution Administrators, (NAGDCA), created a brochure with the
23   following characterization of insurance company general account stable value funds. “Due to the
     fact that the plan sponsor does not own the underlying investments, the portfolio holdings,
24   performance, risk, and management fees are generally not disclosed. This limits the ability of plan
     sponsors to compare returns with other SVFs [stable-value funds]. It also makes it nearly
25   impossible for plan sponsors to know the fees (which can be increased without disclosure) paid by
     participants in these funds—a critical component of a fiduciary’s responsibility.”
26   6
       www.newyorklifeinvestments.com/assets/documents/stable-value/nylim-guaranteed-interest-
27   account-529-plans.pdf 4.30%. While the advertisement is for a 529 college plan, the product is
     the same. Moreover, even the minimum crediting rate of 2.25% in the advertisement is higher than
28   the crediting rate for Live Nation.

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1    offered by New York Life to a top client for the same product -College Savings
2    Plan of New York.
3          92.    Higher spread fees result in lower crediting rates. This difference,
4    more than 2% per year on average, is the excess spread that Live Nation failed to
5    monitor and rectify. Taking inflation into account, the difference in real dollar terms
6    was even more pronounced, with real (net of inflation) returns for the Live Nation
7    fund near zero.
8          93.    Live Nation did not have to scour the marketplace to find a better
9    performing fund, it simply had to make an effort, which it failed to make, to
10   determine whether the same fund was available at a lower cost. Fact sheets showing
11   the available rates of market rate New York Life funds and similar products from
12   other providers were readily available had Live Nation exercised even a minimal
13   amount of due diligence.
14         94.    This breach of fiduciary duty alone resulted in a loss (before
15   compounding) in excess of $2 million of participants’ retirement savings. This loss is
16   something a competent, prudent, and diligent fiduciary would have known was
17   happening in advance and would have been able to avoid. There is a crucial
18   distinction in evaluating a stable value product’s returns against investment returns
19   available elsewhere, from the standpoint of how a fiduciary’s choice is to be
20   evaluated. The product’s performance over the life of the product is guaranteed for a
21   period at the outset. The plan fiduciary knows prior to the date the product is selected
22   what the returns will be six months in advance.
23         95.    The plan fiduciary also knows that, because of the manner in which
24   crediting rates are calculated, the product is less sensitive to interest rates than bond
25   funds. Consequently, a stable value product that performs well generally continues to
26   perform well, in a stable manner. A stable value product that performs poorly, such
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1    as the Live Nation product, generally continues to perform poorly, in a stable
2    manner.
3          96.    A prudent fiduciary – that is, a fiduciary that monitors the investment,
4    understands the pricing mechanism and informs itself of the crediting rates and
5    spread fees available in the market – would have known that New York Life’s stable
6    value product would underperform and that being a stable value product it would
7    continue to underperform in a stable manner.
8          97.    Live Nation could have done substantially better for participants with
9    other substantially identical risky insurance separate account products. In addition,
10   as set forth in more detail below, there are substantially similar risky insurance
11   separate account products such as some from Mass Mutual with over double the
12   return of 4% and higher which are far more cost efficient.
13         2.     Failure to Submit RFP’s
14         98.    A plan with a $25 million stable value fund has considerable bargaining
15   power in the marketplace. There are any number of stable value products available to
16   plans with a $25 million stable value fund that are simply not available to plans with
17   funds of a smaller size.
18         99.    To take advantage of this bargaining power, Live Nation should have
19   submitted requests for proposal to other stable value fund providers. Products from
20   any number of providers were available with better products, lower fees, and higher
21   crediting rates. For example, Mass Mutual offered better crediting rates, resulting in
22   substantial losses during the proposed class period, as set forth in the last column:
23         Table 3
24                                               Excess
         Period                       Mass
          Start      Live Nation                 Spread       Losses
                                     Mutual
25                                              Fees (%)

26
         Dec-16             2.05%    3.79%       1.74%          61,527
27
         Mar-17             2.05%    3.91%       1.86%          66,765
28       Jun-17             2.05%    4.02%       1.97%          71,767
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1                                               Excess
         Period                     Mass
          Start    Live Nation                  Spread      Losses
                                   Mutual
2                                              Fees (%)
         Sep-17           2.05%     3.96%       1.91%         70,603
3
         Dec-17           2.05%     3.97%       1.92%         72,000
4        Mar-18           2.05%     4.22%       2.17%         82,731
         Jun-18           2.05%     4.64%       2.59%        100,363
5
         Sep-18           2.05%     4.68%       2.63%        103,556
6        Dec-18           2.05%     4.66%       2.61%        104,400
         Mar-19           2.05%     4.66%       2.61%        110,672
7
         Jun-19           2.05%     4.47%       2.42%        108,431
8        Sep-19           2.05%     4.41%       2.36%        111,413
         Dec-19           2.05%     4.55%       2.50%        124,030
9        Mar-20           2.05%     4.03%       1.98%        105,206
10       Jun-20           2.05%     4.03%       1.98%        112,180
         Sep-20           2.05%     4.03%       1.98%        119,153
11       Dec-20           2.05%     4.03%       1.98%        126,127
12       Mar-21           2.05%     4.03%       1.98%        126,770
         Jun-21           2.05%     4.03%       1.98%        127,414
13       Sep-21           2.05%     4.03%       1.98%        128,057
14       Dec-21           2.05%     4.03%       1.98%        128,700
         Mar-22           2.05%     4.03%       1.98%        128,700
15       Jun-22           2.05%     4.03%       1.98%        128,700
16       Sep-22           2.05%     4.03%       1.98%        128,700
         Dec-22           2.05%     4.03%       1.98%        128,700
17
18
           100. Other plans with stable value assets of this size have bid out their stable
19
     value funds and obtained better products. Upon information and belief, Live Nation
20
     did not make a regular practice of submitting requests for proposal for the stable
21
     value fund. Thus, Live Nation was not able to take advantage of better rates.
22
           3.     Failure to Diversify
23
           101. The funds invested in the NYL GIC stable value account also was not
24
     adequately diversified. The risk and return characteristic of the fund depended
25
     entirely on the creditworthiness and rates declared by a single entity, New York Life.
26
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1          102. ERISA § 1104(a)(1)(C) provides that a fiduciary shall discharge his
2    duties “by diversifying the investments of the plan so as to minimize the risk of large
3    losses, unless under the circumstances it is clearly prudent not to do so.”
4          103. The NYL Guaranteed Interest stable value fund is not diversified. The
5    NYL GIC is a contract, a piece of paper, subject to the single entity credit risk of
6    New York Life, as the issuer of the contract. The return of the investment depends on
7    crediting rates set at the discretion of a single provider, New York Life. The
8    crediting rate, set by New York Life alone, is not tied to the performance of a
9    diversified pool of assets in which the investors in the fund have an interest.
10         104. In recent years, large 401(k) plans fled fixed annuity products backed by
11   the general account of a single insurance company due to concerns about single
12   entity credit and liquidity risk. Following the high-profile default failures of GIC
13   Issuers in 1992 and 1993 by Executive and Confederation Life, the Federal Reserve
14   expressed concerns about the high risk of the insurance company general account
15   products and the flimsy nature of the state guarantees backing the insurance
16   contracts. The industry immediately responded by offering more separate account
17   contracts, which put creditors in line ahead of general account contracts but still
18   resulted in 100% single entity credit and liquidity exposure. Synthetic value was
19   created in 1995 and by 1999, most of the largest plans were in a synthetic based
20   stable value fund. Synthetic Stable value continued to gain market share over the
21   next 20 years going into smaller and smaller plans.
22         105. If Defendants were going to continue to offer a stable value fund, the
23   most prudent choice would be for Live Nation to move to a low-cost lower risk
24   synthetic GIC structure. Further, Defendants should have specifically negotiated in
25   the contract that New York Life was a fiduciary and that it could exit at no costs if
26   New York Life was downgraded for any reason. The single entity annuity contract
27   constrained liquidity and the ability to replace it without incurring exit charges.
28
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1           106. Defendants breached their fiduciary duty by offering the unnecessarily
2    risky NYL GIC product and by offering a share class that did not maximize Plan
3    Participants’ returns.
4                             CLASS ACTION ALLEGATIONS
5           107. Plaintiffs bring this action in a representative capacity on behalf of the
6    Plan and as a class action pursuant to Rule 23 of the Federal Rules of Civil
7    Procedure on behalf of themselves and a Class defined as follows:
8           108. All participants in or beneficiaries of the the LIVE NATION
9    ENTERTAINMENT, INC. 401(K) SAVINGS PLAN from six years prior to the
10   filing of the complaint in this matter through the date of judgment (the “Class
11   Period”).
12          109. The members of the Class are so numerous that joinder of all members
13   is impracticable. The disposition of their claims in a class action will provide
14   substantial benefits to the parties and the Court. The Plan has over 8974 participants
15   with account balances.
16          110. Questions of law and fact common to the members of the Class
17          111. predominate over questions that may affect individual class members,
18   including, inter alia:
19          (a) whether Defendants are fiduciaries of the Plan;
20          (b) whether Defendants breached their fiduciary duty of prudence with
21          respect to the Plan;
22          (c) whether Defendants had a duty to monitor other fiduciaries of the Plan;
23          (d) whether Defendants breached their duty to monitor other fiduciaries and
24          parties of interest to the Plan; and
25         (e) the extent of damage sustained by Class members and the appropriate
26         measure of damages.
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1             112. Plaintiffs’ claims are typical of those of the Class because their claims
2    arise from the same event, practice and/or course of conduct as other members of the
3    Class.
4             113. Plaintiffs will adequately protect the interests of the Class and have
5    retained counsel experienced in class action litigation in general and ERISA class
6    actions involving fiduciary breaches in particular.
7             114. Plaintiffs have no interests that conflict with those of the Class.
8             115. Defendant does not have any unique defenses against any of the
9    Plaintiffs that would interfere with their representation of the Class.
10            116. A class action is superior to other available methods for the fair and
11   efficient adjudication of this controversy. Joinder of all participants and beneficiaries
12   is impracticable, the losses suffered by individual participants and beneficiaries may
13   be too small for individual members to enforce their rights through individual
14   actions, and the common questions of law and fact predominate over individual
15   questions. Given the nature of the allegations, no class member has an interest in
16   individually controlling the prosecution of this matter, and Plaintiffs are not aware of
17   any difficulties likely to be encountered in the management of this matter as a class
18   action.
19                                FIRST CAUSE OF ACTION
20                           Breach of Fiduciary Duty of Prudence
21                                   (Against All Defendants)
22            117. Plaintiffs repeat and reallege the above paragraphs as though fully set
23   forth herein.
24            118. Defendants were fiduciaries of the Plan under ERISA §§ 3(21) and/or
25   402(a)(1), 29 U.S.C. §§ 1002(21) and/or 1102(a)(1) and under common law trust law
26   because they were either designated in the Plan documents as the Plan Administrator,
27   a named fiduciary under the Plan, performed discretionary Plan-related fiduciary
28   functions, including the selection and monitoring of investment options for the Plan,
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1    and/or the negotiation over services and fees for the Plan, and/or were responsible
2    for the administration and operation of the Plan.
3           119. As a fiduciary of the Plan, Defendants were required, pursuant to
4    ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1) and common law, to act: “(A) for the
5    exclusive purpose of: (i) providing benefits to participants and their beneficiaries;
6    and (ii) defraying reasonable expenses of administering the plan”; and “(B) to
7    discharge their duties on an ongoing basis with the care, skill, prudence, and
8    diligence under the circumstances then prevailing that a prudent man acting in a like
9    capacity and familiar with such matters would use in the conduct of an enterprise of
10   a like character and with like aims.”
11          120. Common law and ERISA’s duty of prudence required Defendant to give
12   appropriate consideration to those facts and circumstances that, given the scope of its
13   fiduciary investment duties, it knew or should have known were relevant to the
14   particular investments of the Plan and to act accordingly. See 29 C.F.R. § 2550.404a-
15   1. The Supreme Court has concluded that this duty is “a continuing duty to monitor
16   [plan] investments and remove imprudent ones.” Tibble, 135 S. Ct. at 1828.
17          121. As described above, Defendants failed to act prudently and in the best
18   interest of the Plan and its participants and breached its fiduciary duties in various
19   ways. Defendants failed to make decisions regarding the Plan’s investment lineup
20   based solely on the merits of each investment and what was in the best interest of
21   Plan participants. Defendants failed to investigate the availability of lower-cost share
22   classes of certain mutual funds in the Plan and failed to investigate other guaranteed
23   investment stable value products. A prudent fiduciary in possession of this
24   information would have removed these investment options, replaced them with more
25   prudent and lower cost alternatives, and/or used the size, leverage and bargaining
26   power of the Plan to secure significantly reduced fees for comparable investment
27   strategies.
28
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1          122. Defendants knowingly participated in each fiduciary breach of the other
2    Plan fiduciaries, knowing that such acts were a breach, and enabled the other Plan
3    fiduciaries to commit fiduciary breaches by failing to lawfully discharge their own
4    duties. Defendants knew of the fiduciary breaches of the other Plan fiduciaries and
5    failed to make any reasonable and timely effort under the circumstances to remedy
6    the breaches. Accordingly, each defendant is also liable for the losses caused by the
7    breaches of its co-fiduciaries under 29 U.S.C. § 1105(a).
8          123. As a direct and proximate result of these breaches, the Plan, Plaintiffs
9    and members of the Putative Class suffered substantial losses in the form of higher
10   fees or lower returns on their investments than they would have otherwise
11   experienced. Additionally and regardless of the losses incurred by Plaintiffs or any
12   member of the Class, pursuant to ERISA §§ 502(a)(2) and (a)(3), and 409(a), 29
13   U.S.C. §§ 1132(a)(2) and (a)(3), and 1109(a), and common law trusts, Defendants
14   and any non-fiduciary which knowingly participated in these breaches are liable to
15   disgorge all profits made as a result of Defendant’s breaches of the duties of
16   prudence, and such other appropriate equitable relief as the Court deems proper.
17                            SECOND CAUSE OF ACTION
18     Breach of Fiduciary Duties in Violation of Duty to Investigate and Monitor
19                       Investments and Covered Service Providers
20                                (Against All Defendants)
21         124. Plaintiffs repeat and reallege the above paragraphs as though fully set
22   forth herein.
23         125. Defendants had overall oversight responsibility for the Plan and control
24   over the Plan’s investment options through its authority to limit or remove the other
25   Plan fiduciaries.
26         126. A monitoring fiduciary must ensure that the monitored fiduciaries are
27   performing their fiduciary obligations, including those with respect to the investment
28   and monitoring of plan assets, and must take prompt and effective action to protect
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1    the Plan and participants when the monitored fiduciaries fail to perform their
2    fiduciary obligations in accordance with ERISA and common law trusts.
3          127. Defendants also had a duty to ensure that other Plan fiduciaries
4    possessed the needed qualifications and experience to carry out their duties (or used
5    qualified advisors and service providers to fulfill their duties); had adequate financial
6    resources and information; maintained adequate records of the information on which
7    they based their decisions and analysis with respect to the Plan’s investments; and
8    reported regularly to Defendant.
9          128.    Defendants breached their fiduciary monitoring duties by, among other
10   things:
11         129. (a) failing to monitor and evaluate the performance of other Plan
12   fiduciaries or have a system in place for doing so, standing idly by as the Plan
13   suffered losses as a result of other Plan fiduciaries’ election to continue to pay fees
14   that were significantly higher than what the Plan could have paid for a substantially
15   identical investment products readily available elsewhere, as detailed herein;
16         130. (b) failing to monitor the processes by which the Plan’s investments
17   were evaluated, which would have alerted a prudent fiduciary to the excessive costs
18   being incurred in the Plan to the substantial detriment of the Plan and the Plan’s
19   participants’ retirement savings, including Plaintiffs and members of the Class; and
20         131. (c) failing to remove fiduciaries whose performance was inadequate, as
21   they continued to maintain excessively costly investments in the Plan, all to the
22   detriment of the Plan and Plan participants’ retirement savings;
23         132. (d) failing to institute competitive bidding for covered service providers.
24         133.    As a direct and proximate result of these breaches of the duty to
25   monitor, the Plan, Plaintiffs, and members of the Class suffered millions of dollars of
26   losses. Had Defendant complied with its fiduciary obligations, the Plan would not
27   have suffered these losses, and Plan participants would have had more money
28   available to them for their retirement.
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1          134. Pursuant to ERISA § 502(a)(2) and (a)(3), and ERISA § 409(a), 29
2    U.S.C. § 1132(a)(2) and (a)(3), and 29 U.S.C. § 1109(a), Defendant is liable to
3    disgorge all fees received from the Plan, directly or indirectly, and profits thereon,
4    and restore all losses suffered by the Plan caused by its breach of the duty to monitor,
5    and such other appropriate equitable relief as the Court deems proper.
6                                 PRAYER FOR RELIEF
7          Plaintiffs, on behalf of the Plan and all similarly situated Plan participants
8    and beneficiaries, respectfully request the Court:
9             • Certify the Class, appoint Plaintiffs as class representatives, and
10                appoint Christina Humphrey Law, P.C. as Class Counsel;
11            • Find and declare that Defendants have breached their fiduciary duties
12                as described above;
13            • Find and adjudge that Defendants are liable to make good to the Plan
14                all losses to the Plan resulting from each breach of fiduciary duties,
15                and to otherwise restore the Plan to the position it would have
16                occupied but for the breaches of fiduciary duty;
17            • Determine the method by which Plan losses under 29 U.S.C. §1109(a)
18                should be calculated;
19            • Order Defendants to provide an accounting necessary to determine the
20                amounts Defendants must make good the Plan under §1109(a);
21            • Find and adjudge that Defendants must disgorge all sums of money
22                received from their use of assets of the Plan;
23            • Impose a constructive trust on any monies by which Defendants were
24                unjustly enriched as a result of breaches of fiduciary duty or prohibited
25                transactions, and cause Defendants to disgorge such monies and return
26                them to the Plan;
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1            • Surcharge against Defendants and in favor of the Plan all amounts
2               involved in any transactions which an accounting reveals were
3               improper, excessive, and/or in violation of ERISA;
4            • Order equitable restitution against Defendants;
5            • Award to Plaintiffs and the Class their attorney’s fees and costs under
6               29 U.S.C. §1132(g)(1) and the common fund doctrine;
7            • Order the payment of interest to the extent it is allowed by law; and
8            • Grant other equitable or remedial relief as the Court deems
9               appropriate.
10
11   PLAINTIFFS DEMAND A TRIAL BY JURY OF ALL ISSUES SO TRIABLE
12                                      BY LAW.
13
14
15   Dated: March 15, 2023                   CHRISTINA HUMPHREY LAW, P.C.
16
17
18
19                                        By:   __________________________
                                                CHRISTINA A. HUMPHREY
20                                              ROBERT N. FISHER
21                                              Attorneys for Plaintiffs

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